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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                            Tallahassee Division

AUGUST DEKKER, legally known as               )
KORI DEKKER; BRIT ROTHSTEIN;                  )
SUSAN DOE, a minor, by and through            )      Civil Action No.
her parents and next friends, JANE            )      4:22-cv-00325-RH-MAF
DOE and JOHN DOE; and K.F., a                 )
minor, by and through his parent and          )
next friend, JADE LADUE,                      )
                                              )
                                  Plaintiffs, )
v.                                            )
                                              )
SIMONE MARSTILLER, in her                     )
official capacity as Secretary of the         )
Florida Agency for Health Care                )
Administration; and FLORIDA                   )
AGENCY FOR HEALTH CARE                        )
ADMINISTRATION,                               )
                           Defendants.        )
____________________________________)

 Declaration of Camille Kiefel In Support of Defendants’ Opposition to Plaintiffs’
                        Motion for Preliminary Injunction

I, Camille Kiefel, declare as follows:

          1.   I am over the age of 18 years and am not a party to this action. I have

actual knowledge of the following facts and if called upon to testify to them could

and would do so competently. I am submitting this Declaration in support of De-

fendants’ opposition to Plaintiffs’ Motion for a Preliminary Injunction and Com-

plaint.




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      2.     Florida Administrative Code § 59G-1.050(7), which prohibits Medi-

caid coverage for medical and surgical interventions meant to “alter primary or sec-

ondary sexual characteristics,” is a necessary and potentially life-saving regulation

that will protect vulnerable young people from physical and mental harm, irreversi-

ble physical changes, and deep regret that I have experienced.

      3.     The Florida regulation is particularly important to me in that my sur-

gery was paid for by Medicaid. Had a regulation like Florida’s been in place when I

sought my surgery, it would have required me to pause before undergoing surgery

and perhaps prevented me from the loss of health body parts I now regret.

      4.     I suffered a series of traumatic events while growing up that distorted

my view of the sexes. My parents went through a difficult divorce in which my mom

was emotionally dysfunctional and spiteful, while my dad was more stable. In fifth

or sixth grade, I began to wear girly preteen fashion and my dad told me how men

his age talked about girls my age. My dad told me later that he was concerned about

me being promiscuous. Then my friend was raped by her brother and the police in-

terviewed me. I found the whole experience traumatic.

      5.     I was diagnosed with ADHD and put on medication to which I reacted

poorly. That made me further lose respect for my mom because she had put me on

the medication.




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      6.      I then began to dress masculine. Previously an avid writer, I developed

writer’s block. I then focused on Anime.

      7.      In high school, I changed my diet and stopped eating meat. I started to

have depression. There is evidence that suggests a meatless diet can contribute to

depression.

      8.      In college I was ostracized by the “call out” culture, because in that

culture if you are not part of a group then you are worthless.

      9.      I have done all kinds of therapy over the course of 20 years, including

talk therapy, hypnotherapy, EMDR (eye movement desensitization and repro-

cessing), DBT (dialectical behavior therapy), TMS (transcranial magnetic stimula-

tion therapy), Somatic Experiencing, and medications.

      10.     In 2016, I started seeing a gender therapist and came out as nonbinary.

      11.     I was still dealing with anxiety and depression and in 2020 I was on my

second set of TMS, trans-cranial magnetic stimulation, treatments which helped

some but not as much as I felt I needed. So, I turned to top surgery for an answer.

      12.     I did not want to be a man or a woman but instead wanted out of all sex

types. I had a double mastectomy with nipple grafts in August 2020, not to emulate

either sex but to be non-binary.




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      13.    I had seen “female to non-binary” “top surgery” on the internet and

believed it was an accepted, proven treatment. I did not realize at the time that it is

experimental and had discomfort around my breasts due to trauma.

      14.    I received two letters recommending surgery from two mental health

professionals at gender clinics one in May 2020 and the second in July 2020.

Although I had a number of mental health issues and years of treatment, these pro-

viders did not review or ignored my records nor did they do a psychological evalu-

ation even though they acknowledged that I had trauma.

      15.    I developed complications from the surgery. I developed “Raynaud's

Syndrome” in which one’s capillaries shrink and caused my extremities to get cold

and discolored. This caused great discomfort. I also developed a burning sensation

in back of my neck, tinnitus (ringing) in my ears, musculoskeletal issues, skin dis-

coloration, most likely bone spurs, and insomnia.

      16.    My suicidal ideation worsened. I became terribly sleep deprived and

my anxiety worsened. I became deeply depressed and distraught over time after the

surgery. I knew something was going wrong with my body. My mother had to lay

down with me to help me sleep. I had many physical problems and made many trips

to the ER. The doctors were stymied. My mother talked to me about psychiatric

hospitalization.




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         17.   Rather than fixing my problems, the surgery made my physical and

mental health worse.

         18.   I began to focus on holistic treatments through my own research with

the help of a naturopathic doctors, bodywork practitioners, and trained staff certified

in functional hyperbaric medicine who did treatments that helped restore balance to

my nervous system. The holistic treatments helped me a great deal, and as my phys-

ical health improved so did my mental health. I began a slow progression to recon-

nect with my female body and womanhood.

         19.   I began looking at different information that offered different perspec-

tives than I had received from internet transgender sources.

         20.   I detransitioned in 2022 when, after the effective holistic treatments, I

was at peace with the realization that I am a woman.

         21.   I hate that I underwent the surgery. I can never breast feed if I have

children. For many years I did not want a family because I felt so poorly physically

and mentally. Now I want to marry and have kids. I can’t fit clothing the same way

again.

         22.   I believed that I was doing everything I was supposed to do. Now I

realize that I was having a number of physical and mental health problems that no

professionals investigated or addressed before prescribing a treatment that caused

me to lose a part of my body.



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        23.   Surgery is such a drastic, irreversible step. As I experienced, we do not

truly know what these surgeries will do to the body – they are experimental. They

are doing surgeries for a state that does not exist in nature. Those undergoing the

surgeries are putting their bodies at risk and subjecting their bodies to trauma.

        24.   I am quite concerned that doctors are not running the right lab tests or

doing the right holistic medical assessments to find out what is truly causing gender

dysphoric patients their dysphoria and the desire to surgically remove parts of their

body.

        25.   I have significant concerns about the experimental nature of the sur-

gery. There is no biological blueprint for the surgery. There are no controlled studies.

As I have experienced, because of the experimental and unpredictable nature of these

surgeries the medical care one receives afterward is abysmal because they don’t

know what to do for you. These surgeries should not be funded by tax dollars.

        I declare under penalty of perjury that the foregoing is true and corrected.

        Executed on October 3, 2022.

                                                      /s/ Camille Kiefel
                                                      Camille Kiefel




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